Case 2:22-cv-05367-RGK-MAA        Document 79-1       Filed 06/17/23     Page 1 of 9 Page ID
                                        #:3426


   1   THOMAS M. FERLAUTO (SBN 155503)
       LAW OFFICE OF THOMAS M. FERLAUTO, APC
   2
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   3   Laguna Hills, California 92653
   4
       Telephone: 949-334-8650
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   5   Email: TMF@lawofficeTMF.com
   6   Attorney for Plaintiff, JOSHUA ASSIFF
   7
   8                           UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
  10
  11   JOSHUA ASSIFF,                                Case No. 2:22-cv-05367 RGK (MAAx)
  12
                        Plaintiff,                   DECLARATION OF THOMAS M.
  13                                                 FERLAUTO IN OPPOSITION TO
             v.
  14                                                 MOTION FOR PARTIAL SUMMARY
       COUNTY OF LOS ANGELES;                        JUDGMENT
  15
       SHERIFF DEPUTY BADGE
  16   NUMBER 404532;
       And DOES 1 through 10,
  17
  18                    Defendants.
                                                     DATE:               June 26, 2023
  19                                                 TIME:               9:00 a.m.
  20                                                 COURTROOM: 850
                                                     Action Filed: August 3, 2022
  21
                                                     Pretrial Conference: July 10, 2023
  22                                                 Trial Date: July 25, 2023
                                                     Assigned to: Hon. R. Gary Klausner,
  23
                                                     District Judge, Courtroom 850
  24
  25         I, Thomas M. Ferlauto, declare as follows:
  26         1.     I am an attorney licensed to practice law in all of the courts in the State
  27   of California, and I am Plaintiff’s counsel of record herein. Consequently, I have
  28   personal knowledge of the following:

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           DECLARATION OF THOMAS M. FERLAUTO IN OPPOSITION TO MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:22-cv-05367-RGK-MAA        Document 79-1       Filed 06/17/23     Page 2 of 9 Page ID
                                        #:3427


   1          2.     On April 14, 2023, I attended the deposition of Plaintiff Joshua Assiff.
   2   Attached hereto as Exhibit 1 are true and accurate excerpts of Plaintiff’s deposition
   3   transcript.
   4          3.     On May 30, 2023, I attended the deposition of Defendant Travis Kelly
   5   (“Defendant Kelly”). As of the date of the filing of this opposition, the deposition
   6   transcript for Defendant Kelly has not been prepared. Plaintiff will submit to the
   7   Court the applicable portions of Defendant Kelly’s deposition transcript as soon as it
   8   is prepared. However, at the time of the filing this opposition, in lieu of the official
   9   transcript, Defendant Kelly testified in sum and substance as follows:
  10                 a.     Defendant Kelly in his deposition conceded that after he
  11   requested Plaintiff’s driver’s license, Plaintiff was in the process of producing his
  12   driver’s licenses when Defendant Kelly, not Plaintiff, re-engaged Plaintiff in the
  13   debate over the color of the light.
  14                 b.     Defendant Kelly in his deposition conceded that the he did not
  15   see Plaintiff’s kick him. His motorcycle pants were thickly padded, and it may have
  16   been Plaintiff’s knee with which he came into contact.
  17                 c.     Defendant Kelly in his deposition conceded that he could not see
  18   Plaintiff punch Deputy Clark in the chest on the video and had trouble locating where
  19   in the video it allegedly occurred.
  20                 d.     In the County’s Use of Force Report, the County claimed that
  21   Defendant Kelly had successfully used de-escalation techniques with an
  22   uncooperative driver just 24 minutes prior of the incident involving Plaintiff. In his
  23   deposition, Defendant Kelly denied that any such incident took place.
  24                 e.     In deposition, while discussing the June 2014 incident where
  25   Defendant Kelly drove off from a traffic stop when he was pulled over by the LAPD,
  26   Defendant Kelly confessed that he did not like working for an African American
  27   captain and only signed the performance log entry (COLA-40) because his signature
  28   was coerced from him. Allegedly, the African American captain threatened to

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           DECLARATION OF THOMAS M. FERLAUTO IN OPPOSITION TO MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:22-cv-05367-RGK-MAA        Document 79-1       Filed 06/17/23     Page 3 of 9 Page ID
                                        #:3428


   1   withhold Defendant Kelly’s promotion to sergeant unless he signed the performance
   2   log entry. If Defendant Kelly is to be believed, he was required to admit to rude,
   3   unprofessional, discrediting, officious, and overbearing (if not illegal) conduct to
   4   secure his promotion to sergeant. Defendant Kelly also admitted to signing the
   5   performance log entry so he could stop working underneath the African American
   6   captain, whom he disliked.
   7                 f.     In April of 2017, Defendant Kelly was suspended for four days in
   8   connection with a use of force incident against an Hispanic inmate in July of 2015,
   9   Defendant Kelly in his deposition admitted that he never served the 4 day suspension.
  10            4.   Attached hereto as Exhibit 2 is a true and accurate excerpt from the
  11   Supervisor’s Report on Use of Force produced by the County in this action as part of
  12   its initial disclosure obligation. This document was designated as CONFIDENTIAL
  13   by the County pursuant to a stipulated protective order.
  14            5.   Attached hereto as Exhibit 3 is a true and accurate copy of Defendant
  15   the County of Los Angeles Sheriff’s Department’s Responses to Plaintiff’s Request
  16   For Documents, Set Two.
  17            6.   Attached hereto as Exhibit 4 is a true and accurate (though redacted)
  18   portion of Defendant Kelly’s personnel file. This document was produced in this
  19   action by the County in response to discovery requests.                This document was
  20   designated as CONFIDENTIAL by the County pursuant to a stipulated protective
  21   order.
  22            7.   Attached hereto as Exhibit 5 is a true and accurate (though redacted)
  23   portion of Defendant Kelly’s personnel file. This document was produced in this
  24   action by the County in response to discovery requests.                This document was
  25   designated as CONFIDENTIAL by the County pursuant to a stipulated protective
  26   order.
  27            8.   Attached hereto as Exhibit 6 is a true and accurate (though redacted)
  28   portion of Defendant Kelly’s personnel file. This document was produced in this

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           DECLARATION OF THOMAS M. FERLAUTO IN OPPOSITION TO MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:22-cv-05367-RGK-MAA        Document 79-1       Filed 06/17/23     Page 4 of 9 Page ID
                                        #:3429


   1   action by the County in response to discovery requests.                This document was
   2   designated as CONFIDENTIAL by the County pursuant to a stipulated protective
   3   order.
   4            9.    Attached hereto as Exhibit 7 is a true and accurate (though redacted)
   5   portion of Defendant Kelly’s personnel file. This document was produced in this
   6   action by the County in response to discovery requests.                This document was
   7   designated as CONFIDENTIAL by the County pursuant to a stipulated protective
   8   order.
   9            10.   Attached hereto as Exhibit 8 is a true and accurate (though redacted)
  10   portion of Defendant Kelly’s personnel file. This document was produced in this
  11   action by the County in response to discovery requests.                This document was
  12   designated as CONFIDENTIAL by the County pursuant to a stipulated protective
  13   order.
  14            11.   Attached hereto as Exhibit 9 is a true and accurate (though redacted)
  15   portion of Defendant Kelly’s personnel file. This document was produced in this
  16   action by the County in response to discovery requests.                This document was
  17   designated as CONFIDENTIAL by the County pursuant to a stipulated protective
  18   order.
  19            12.   Attached hereto as Exhibit 10 is a true and accurate (though redacted)
  20   portion of Defendant Kelly’s personnel file. This document was produced in this
  21   action by the County in response to discovery requests.                This document was
  22   designated as CONFIDENTIAL by the County pursuant to a stipulated protective
  23   order.
  24            13.   Attached hereto as Exhibit 11 is a true and accurate (though redacted)
  25   portion of Defendant Kelly’s personnel file. This document was produced in this
  26   action by the County in response to discovery requests.                This document was
  27   designated as CONFIDENTIAL by the County pursuant to a stipulated protective
  28   order.

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           DECLARATION OF THOMAS M. FERLAUTO IN OPPOSITION TO MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:22-cv-05367-RGK-MAA        Document 79-1       Filed 06/17/23     Page 5 of 9 Page ID
                                        #:3430


   1            14.   Attached hereto as Exhibit 12 is a true and accurate (though redacted)
   2   portion of Defendant Kelly’s personnel file. This document was produced in this
   3   action by the County in response to discovery requests.                This document was
   4   designated as CONFIDENTIAL by the County pursuant to a stipulated protective
   5   order.
   6            15.   Attached hereto as Exhibit 13 is a true and accurate (though redacted)
   7   portion of Defendant Kelly’s personnel file. This document was produced in this
   8   action by the County in response to discovery requests.                This document was
   9   designated as CONFIDENTIAL by the County pursuant to a stipulated protective
  10   order.
  11            16.   Attached hereto as Exhibit 14 is a true and accurate copy of the
  12   Complaint filed by the United States of America against the County on April 28,
  13   2015 in Case No. CV 15-03174. Plaintiff respectfully requests the Court to take
  14   judicial notice of this filing under Federal Rules of Evidence Rule 201.
  15            17.   Attached hereto as Exhibit 15 is a true and accurate copy of the
  16   Settlement Agreement between the United States of America and the County filed on
  17   April 28, 2015 in Case No. CV 15-03174. Plaintiff respectfully requests the Court
  18   to take judicial notice of this filing under Federal Rules of Evidence Rule 201.
  19            18.   Attached hereto as Exhibit 16 is a true and accurate copy of An Analysis
  20   of Racial/Ethnic Disparities in Stops by Los Angeles County Sheriff’s Deputies in
  21   the Antelope Valley Dated September 2020. This report was personally downloaded
  22   by me from the Los Angeles County Sheriff’s Department website on December 22,
  23   2022. Plaintiff respectfully requests the Court to take judicial notice of this filing
  24   under Federal Rules of Evidence Rule 201.
  25            19.   Plaintiff requests the Court deny Defendants’ motion for partial
  26   summary judgment under Rules of Federal Procedure Rule 56(d) or in the alternative
  27   defer ruling on the motion to permit time for Plaintiff to conduct discovery, take
  28   depositions, and obtain declarations.

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           DECLARATION OF THOMAS M. FERLAUTO IN OPPOSITION TO MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:22-cv-05367-RGK-MAA        Document 79-1       Filed 06/17/23     Page 6 of 9 Page ID
                                        #:3431


   1         20.    Plaintiff has complied with all of his discovery obligations. Plaintiff
   2   appeared for his deposition and gave testimony on April 14, 2023. Plaintiff made his
   3   expert witness disclosure -- including expert witness report -- in a timely fashion on
   4   May 10, 2023.
   5         21.    Defendants have not complied with their discovery obligations.
   6         22.    The discovery cut-off in this action was and is May 10, 2023.
   7         23.    On March 31, 2023, Plaintiff properly noticed Defendant Kelly’s
   8   deposition for April 25, 2023. Plaintiff offered to reset the deposition for any
   9   mutually agreeable date prior to the discovery cut-off.
  10         24.    On March 31, 2023, Plaintiff properly noticed the deposition of the
  11   persons most knowledgeable at the Defendant County of Los Angeles about 9 certain
  12   relevant topics for April 26, 2023. The 9 topics were specified as follows: (1) The
  13   traffic stop policies and procedures for the Los Angeles County Sheriff’s Department
  14   in effect on September 24, 2021. (2) The de-escalation policies and procedures for
  15   the Los Angeles County Sheriff’s Department in effect on September 24, 2021.
  16   (3) The use of force policies and procedures for the Los Angeles County Sheriff’s
  17   Department in effect on September 24, 2021. (4) The education and training of
  18   Defendant Kelly in the traffic stop policies and procedures for the Los Angeles
  19   County Sheriff’s Department in effect on September 24, 2021. (5) The education and
  20   training of Defendant Kelly in the de-escalation policies and procedures for the Los
  21   Angeles County Sheriff’s Department in effect on September 24, 2021. (6) The
  22   education and training of Defendant Kelly in the use of force policies and procedures
  23   for the Los Angeles County Sheriff’s Department in effect on September 24, 2021.
  24   (7) The supervision of Defendant Kelly on September 24, 2021. (8) The investigation
  25   into Defendant Kelly’s conduct in the incident that is the subject matter of this
  26   litigation and that took place on September 24, 2021. (9) The efforts by the County
  27   of Los Angeles and the Los Angeles Sheriff’s Department to comply with the
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           DECLARATION OF THOMAS M. FERLAUTO IN OPPOSITION TO MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:22-cv-05367-RGK-MAA        Document 79-1       Filed 06/17/23     Page 7 of 9 Page ID
                                        #:3432


   1   Settlement Agreement entered in USDC Case No. CV-15-03174. Plaintiff offered to
   2   reset the deposition for any mutually agreeable date prior to the discovery cut-off.
   3         25.    Defendants failed to offer alternative deposition dates prior to the
   4   discovery cut-off for Defendant Kelly, and Defendant Kelly failed to appear for his
   5   scheduled deposition on April 25, 2023.
   6         26.    Defendants failed to offer alternative deposition dates prior to the
   7   discovery cut-off for Defendant the County of Los Angeles, and Defendant the
   8   County of Los Angeles failed to appear for its scheduled deposition on April 26, 2023.
   9         27.    On May 10, 2023, Defendants brought an ex parte application seeking
  10   to continue the trial date and other pre-trial deadlines. Plaintiff filed a qualified
  11   opposition to Defendants’ ex parte application. Plaintiff opposed the application to
  12   continue dates, but only if the Court was inclined to grant issue or evidence sanctions
  13   against the Defendants for their failure to appear for their depositions. However, if
  14   the Court was not inclined to grant issue or evidence sanctions, Plaintiff did not
  15   oppose the application and agreed that a continuance was necessary for Plaintiff to
  16   complete the discovery that Defendants wrongfully refused to provide.
  17         28.    On May 12, 2023, the Court denied Defendants’ motion to continue trial
  18   and other pre-trial deadlines, but permitted the parties to agree to conduct the
  19   depositions of the Defendants (who failed to appear at their noticed depositions) after
  20   the discovery cut-off.
  21         29.    In response to the Court’s order, Defendants offered two dates for the
  22   deposition of Defendant Kelly, but then withdrew one of them. Thus, Defendants
  23   only offered one available date for Defendant Kelly. Plaintiff accepted that one date,
  24   and the deposition of Defendant Kelly was taken May 30, 2023. However, due to
  25   the Court Reporter’s calendar and work flow, the deposition transcript will not be
  26   available until after June 5, 2023 – the date that the opposition to Defendants’ motion
  27   for summary judgment is due.
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           DECLARATION OF THOMAS M. FERLAUTO IN OPPOSITION TO MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:22-cv-05367-RGK-MAA           Document 79-1       Filed 06/17/23     Page 8 of 9 Page ID
                                           #:3433


   1            30.    For the deposition of the persons most knowledgeable on 9 topics at
   2   Defendant the County of Los Angeles, Defendants have only offered two partial dates
   3   for two witnesses on two topics. Defendants offered a partial date with limited time
   4   for questioning for one witness on one topic and a partial date with limited time for
   5   questioning (during my son’s high school graduation ceremony) for another topic.
   6   Defendants have not offered a workable mutually agreeable date for the deposition
   7   of Defendant the County of Los Angeles. Thus, the deposition will not be conducted
   8   and deposition transcript of this deposition will not be available until after June 5,
   9   2023 – the date that the opposition to Defendants’ motion for summary judgment is
  10   due.
  11            31.    On May 24, 2023, Defendants filed this motion for partial summary
  12   judgement set for hearing on June 26, 2023, with an opposition deadline of June 5,
  13   2023. To oppose this motion on the merits, Plaintiff will require the deposition
  14   transcript of both Defendant Kelly and Defendant the County of Los Angeles.
  15   However, the transcript of Kelly’s deposition will not be prepared, and the deposition
  16   of the County of Los Angeles will not have even taken place yet. Since Plaintiff’s
  17   expert needs this discovery to complete his report, even his opinions will not be
  18   complete.
  19            32.    Having reviewed the motion, I can state that the depositions of
  20   Defendants Kelly and the County of Los Angeles and the updated expert report of
  21   Jeffrey J. Nobel will be crucial to opposing the motion and establishing the existence
  22   of factual issues that need to be tried. The transcript of the deposition of Defendant
  23   Kelly is needed to properly present the evidence set forth in paragraph 4, above. The
  24   transcript of deposition of the County of Los Angeles is needed to more thoroughly
  25   present the evidence set forth in paragraphs 4 and 6-18, above. The updated expert
  26   report of Jeffrey J. Nobel (taking in consideration the depositions of Defendants
  27   Kelly and the County of Los Angeles) is necessary to address the claim against the
  28   County of Los Angeles.

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              DECLARATION OF THOMAS M. FERLAUTO IN OPPOSITION TO MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:22-cv-05367-RGK-MAA        Document 79-1       Filed 06/17/23     Page 9 of 9 Page ID
                                        #:3434


   1         I declare under penalty of perjury under the laws of the State of California and
   2   the United States of America that the foregoing is true and correct. Executed this
   3   ___
        5th day ofJune
            day of May, 2023 in Orange County, California.
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   6                                                     _______________________________
   7                                                     THOMAS M. FERLAUTO
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           DECLARATION OF THOMAS M. FERLAUTO IN OPPOSITION TO MOTION FOR PARTIAL SUMMARY JUDGMENT
